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Or COUNSEL
GEORGE WACHTEL

Lean Busey November 14, 2020
Hon. Lewis A. Kaplan

United States Distrrict Judge

Southern District of New York

500 Pearl Street

New York, NY. 10007

Re: United States v. Donziger, 19 Cr. 561 (LAP)

 

Dear Judge Kaplan:

I write to request that this Court revoke its Order of July 30, 2019, insofar as
it transfers this case to the Hon. Loretta A. Preska. I further request that this Court
transfer the case for assignment by lot pursuant to SDNY Local Rule 16, and
formally recuse itself from further actions in the criminal mater. Given that trial of
this matter is scheduled for January 19, 2021, there is ample time to select a district
judge at random without delaying the trial.

At some point prior to July 30, 2019, this Court attempted to convince the
United States Attorney for the Southern District of New York to criminally prosecute
Steven Donziger for alleged contempt of this Court’s orders. The United States
attorney declined, asserting “the matter would require resources that we do not have
readily available.” Dkt. 2277.

On July 30, 2019, this Court solved the resource problem by appointing three
private attorneys,! at the for-profit firm of Seward and Kissel, to prosecute Mr.
Donziger, providing a bottomless well of tax dollars to fund said endeavor. Thus
far, based at least on anecdotal evidence, this is the most expensive misdemeanor
prosecution in the history of the SDNY, if not the federal judiciary.”

 

' The defense does not know the selection criteria used by this Court, nor whether this Court
was aware that Chevron Corporation had been a client of the firm.

* The defense estimates that private counsel has been paid (or has outstanding invoices that have
not been submitted), somewhere between $250,000.00 and $500,000.00, thus far.
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The same day, this Court issued a show cause order alleging six counts of
criminal contempt of court against Steven Donziger in the newly-titled case of
United States v. Steven Donziger, bearing the civil case number 11-cv-0691 (LAK).
Said Order was expressly made pursuant to Fed. R. Crim. Proc 42 and directed the
parties to appear before the Hon. Loretta A. Preska.

Despite this Court’s invocation of Rule 42 in appearing to transfer the matter
to Judge Preska, this Court subsequently stated that it had not recused itself from the
matter.

Legal commentators have stated the obvious: “Vindicating the court's dignity
and authority is the fundamental purpose of contempt, and the judge is usually
actively involved in initiating contempt proceedings. Thus, the roles of victim,
prosecutor, and judge are dangerously commingled.” Getting Beyond the
Civil/criminal Distinction: A New Approach to the Regulation of Indirect
Contempts, 79 Va. L. Rev. 1025, 1028 (1993) (emphasis added). See, e.g., Green v.
United States, 356 U.S. 165, 199 (1958) (Black, J., dissenting) (discussing direct
contempts), overruled in part by Bloom v. State of Ill., 391 U.S. 194 (1968) (“When
the responsibilities of lawmaker, prosecutor, judge, jury and disciplinarian are thrust
upon a judge he is obviously incapable of holding the scales of justice perfectly fair
and true and reflecting impartially on the guilt or innocence of the accused. He truly
becomes the judge of his own cause.”).

 

It appears, at least to new incoming counsel, that this Court has gone well
beyond inevitable commingling and made a series of decisions that fundamentally
prejudice Mr. Donziger’s right to a fair trial. This Court has a) issued the charges
against the defendant, b) selected a private prosecution team that has none of the
resource allocation constraints, or independence, of the actual United States of
America, and in fact has a perverse incentive to extend the case given its hourly
billing to taxpayers rather than resolve it expeditiously; c) transferred this case to a
hand-picked colleague, all the while d) simultaneously continuing to retain full
jurisdiction over the matter

I submit that this Court is running afoul of Mr. Donziger’s fair trial rights by
playing too many roles in this criminal prosecution—you are the accuser; the
person who selected the private prosecutors after the federal prosecutor refused the
case; the person who selected the judge; and also, the judge. This type of
arrangement is something I have never encountered in my decades of practice nor
heard of from any other counsel practicing in any other jurisdiction. This situation
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cannot be reconciled with the Second Circuit’s mandate that judges exercise
“restraint” in criminal contempt cases. In re Irving, 600 F.2d 1027, 1037 (2d Cir.
1979).

First, with respect to this Court’s ongoing participation.

In normal course, Rule 42 dictates when judges must recuse themselves from
trying their own contempt charges. Rule 42 does not address the distinction between
direct and indirect contempts found in the case law, but instead sets forth a uniform
standard for recusal and reassignment. Indeed, when this Court invoked Rule 42 as
part of its original order transferring the matter to Judge Preska, prior counsel read
that to be a recusal as required by the rule and a reassignment. It was not until March
11, 2020, when this Court, at some length and more than seven months after the
charges were filed, first made it clear that it had not recused itself from any part of
the litigation, including the criminal case. Case 20-404, Dkt. 55?, at 41-51. Itis also
worth noting that said brief, at least nominally authored by this Court, contained
vigorous and hostile advocacy against the positions taken by Mr. Donziger. Such
argumentation is a staple between litigants; it is not a normal or healthy part of the
relationship between defendant and judge.

Second, with respect to the selection of Judge Preska.

Notwithstanding this Court’s invocation of Rule 42, this Court did not follow
the procedures required by SDNY Local Rule 16 for re-assignment when a judge is
disqualified. The fact that this Court has the authority to transfer a case to another
judge on consent (pursuant to Local Rule 14°) should not and cannot be employed
to do violence to the general principle of random judicial assignment—especially
when the designated judge will be both the arbiter of law and the finder of fact. See,
Katherine A. Macfarlane, The Danger of Nonrandom Case Assignment: How the
Southern District of New York’s “Related Cases” Rule Shaped Stop-And-Frisk
Rulings, 19 Michigan Journal of Race and Law 199 (condemning Rule 14 as
allowing “case assignment manipulation” and “judicial case-shopping); J. Robert
Brown, Jr. & Allison Herren Lee, Neutral Assignment of Judges at the Court of
Appeals, 78 Tex. L. Rev. 1037, 1066 (“Judges seeking to participate in a particular
case may have a variety of motives. . . . They may seek a position on a panel to
promote a judicial philosophy or a set of moral principles....”). Cruz v. Abbate, 812
F.2d 571, 572 (9th Cir. 1987)( Courts “must take great pains to avoid any inference

 

3 The defense requests a copy of the “written advice” this Court filed with the assignment
committee prior to its selection of Judge Preska.
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that [case] assignments are being made for an improper purpose,” because “[t]he
suggestion that the case assignment process is being manipulated for motives other

than the efficient administration of justice casts a very long shadow.”)

This is not personal. No matter who the judge personally picked by this Court,
that judge would receive an unjustified level of scrutiny simply by virtue of the fact
that they were selected by this Court. Such scrutiny and public commentary, all too
common in the current era, has a corrosive effect on the public perception of the
independence of the federal judiciary, and at a time when the courts most needs
public trust.

But Judge Preska, as the many people now following this case know with
great clarity, has extensive ties to the Chevron-funded Federalist Society. Given the
Federalist Society's fierce anti-regulatory and pro-corporate stance, your
appointment of Judge Preska would be commented upon whether or not she was
selected at random. But the appearance is so much worse when the person who
selected Judge Preska spent a quarter-century of his pre-judicial years working to
defend Phillip Morris and other major tobacco companies.‘ Preserving public faith
in the judiciary is not merely the duty of the executive and legislative branches, nor
of the commentariat or public intellectuals. The courts themselves also have a
responsibility to protect the integrity of the federal judiciary. I call you to that
obligation.

Third, with respect to the selection of the private prosecutors.

Had this matter been prosecuted in normal course by the United States
Attorney for the Southern District of New York, and the matter transferred to another
Judge in accordance with random selection principles, this Court’s role would be
narrow and clear. At most, this Court would be a witness who, like other prosecution

 

4 Benjamin Hulac, Tobacco and Oil Industries Used Same Researches to Sway Public, Scientific
American, (June 20, 2016),
https://www.scientificamerican.com/article/tobacco-and-oil-industries-used-same-researchers-to-
sway-publicl/. In addition, as this Court is well aware, this contempt case grows out of a civil
matter Chevron initiated against Mr. Donziger after he successfully secured a pollution judgment
against the company that has been validated by four layers of courts in Ecuador. The private
prosecutor’s main witnesses in the criminal contempt case are from Chevron’s Gibson Dunn law
firm, another major donor to the Federalist Society, and another reason why the appearance of
impropriety exists.
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witnesses, would be in a position to explain certain facts of the case to prosecutors.
The prosecution would retain its usual and enormous discretion as to how to proceed,
on which counts, whether to engaged in plea discussions, and the like. This Court
would have no role in these matters. E.g., Inmates of Attica v. Nelson Rockefeller,
477 F.2d 375 (2d Cir. 1975).

Instead, it appears that this Court has engaged in ex parte communications
with its hand-picked prosecutors that would otherwise be prohibited in a normal-
course case and should be prohibited in any case. Mr. Donziger’s prior counsel
raised these concerns. In response, the prosecutors at Seward & Kissel, calling
themselves the “United States of America” stated (and subsequently reiterated) “the
prosecution does not seek Judge Kaplan’s input with respect to our prosecution
decisions or our strategy, and Judge Kaplan does not weigh in on our prosecution
decisions or strategy.” Dkt. 52, 16-17; 141 at 2.

The problem with this answer in the negative pregnant is it tells us the role the
Court is not playing in the prosecution; it does not tell is the role that the Court is
playing—when the Court should be playing no role whatsoever.

I have not located any case where one judge tried the matter and a second
judge, of co-ordinate jurisdiction, served as a “shadow judge,” with the two
organizing matters related to the case between themselves, utterly opaquely. Nor do
I assert that is what is happening here. I merely assert that this is what it appears to
be.

Conclusion

At various points in this litigation, this Court has asserted that it has the right
to initiate charges by Notice against Mr. Donziger, the right to pick a private
prosecution team, the right to preside over the trial, the right to pick the judge who
hears the case, and of course, the right to litigate against Mr. Donziger’s attempt to
obtain mandamus relief from these assertions. There is no authority for this Court
doing all of these things at the same time in the same case. To the contrary, there is
ample reason to conclude that reasonable observers would, and have,° questioned

 

>See Full Statement of 55 Nobel Laureates in Support of U.S. Human Rights Lawyer Steven
Donziger, Frente de Defensa de la Amazonia, (November 5, 2020)
https://www.makechevroncleanup.com/press-releases/2020/1 1/5/full-statement-of-55-nobel-
laureates-in-support-of-us-human-rights-lawyer-steven-donziger (in which 55 Nobel Laureates
call for an end to the judicial harassment of Steven Donziger); United States v. Steven Donziger:
Report of Monitors of a Hearing in New York, 5 October 2020, Lawyers’ Rights Watch Canada,
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the fairness of these actions. They must remedied immediately such that Mr.
Donziger can have a fair trial.

Respectfully submitted,
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Ronald L. Kuby

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(October 27, 2020) https://www.lrwc.org/united-states-v-steven-donziger-report-of-monitors-of-
a-hearing-in-new-york-5-october-2020/; A Letter to Federal Judges Concerning Case of Human
Rights Lawyer Steven Donziger, Medium (October, 21, 2020), https://medium.com/donziger-
case-monitoring-committee/a-letter-to-federal-judges-concerning-case-of-human-rights-lawyer-
steven-donziger-8e7 16547fbc2 (in which a monitoring committee of seven distinguished lawyers
levy concerns about right to counsel, lack of judicial fairness, prosecutorial misuse of procedure,
and witness issues)
